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                DISTRICT COURT OF THE VIRGIN ISLANDS
                DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )
                v.                   )     Criminal No. 2017-26
                                     )
JERMAINE AYALA,                      )
                                     )
                Defendant.           )
                                     )

ATTORNEYS:

Ronald Sharpe, United States Attorney
Sigrid Tejo-Sprotte, AUSA
United States Attorney’s Office
St. Thomas, U.S.V.I.
     For the United States of America,

Juan F. Matos de Juan
Hato Rey, PR
     For Jermaine Ayala.


                                  ORDER
GÓMEZ, J.

      Before the Court is the application of Jermaine Ayala

(“Ayala”) to waive his speedy trial. For the reasons stated

herein, the time to try this case is extended up to and

including August 14, 2017.

      While the Speedy Trial Act requires that a defendant be

tried within seventy days of indictment, the Court specifically

finds that extending this period would be in the best interest

of justice for several reasons. First, an extension of time is

necessary to provide Ayala with additional time to explore plea
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negotiations. Second, the defendant made this request with the

advice and consent of counsel. Finally, Ayala’s counsel has

prior commitments which create a scheduling conflict with the

date of the trial.

      Consistent with these concerns, the United States Court of

Appeals for the Third Circuit has recognized that "whether or

not a case is 'unusual' or 'complex,' an ends of justice

continuance may in appropriate circumstances be granted."

United States v. Fields, 39 F.3d 439, 444 (3d Cir. 1994)(citing

United States v. Dota, 33 F.3d 1179(9th Cir. 1994)("An ends of

justice continuance may be justified on grounds that one side

needs more time to prepare for trial . . . even though a case is

not complex")); see also United States v. Brooks, 697 F.2d 517,

522 (3d Cir. 1982), cert. denied, 460 U.S. 1071(1983)(no abuse

of discretion where district court found that multiple count,

multiple defendant "case was complex and required additional

time for adequate preparation."); United States v. Lattany, 982

F.2d 866, 883 (3d Cir. 1992)("district court did not abuse its

discretion [by delaying trial] to give counsel . . . opportunity

to . . . decid[e] upon and prepar[e] an appropriate defense.").

      The premises considered; it is hereby

      ORDERED that the time beginning from the date of this order

granting an extension through August 14, 2017, shall be excluded
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in computing the time within which a trial must be initiated

pursuant to 18 U.S.C. § 3161.



                                        S\
                                                Curtis V. Gómez
                                                District Judge
